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Rahmat Loghmanieh
61 Park Club Lane, Unit A
Williamsville, NY 14221


Re: Thomas Sibick

October 15, 2021


To Whom It May Concern,

As a very dear friend of the Sibick family, I was asked that when necessary, I would go to the
Sibick residence at 34 Wik Street, Williamsville, NY to make sure that Thomas complies with any
court orders that may be placed upon him as a condition of his release. I also attest that if
Thomas were to attempt to leave the Sibick premises, I would immediately and without
reservation notify the appropriate law enforcement agency.


Sincerely,


Rahmat Loghmanieh
